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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

    SIEMENS PRODUCT LIFECYCLE
    MANAGEMENT SOFTWARE INC.,
                        Plaintiffs,

    vs.
                                                            Civil Action No. 18-CV-11524
                                                            HON. MARK A. GOLDSMITH
    NUMERIC CONCEPT & DESIGN
    L.L.C.,
                        Defendant.


                ANSWER TO PLAINTIFF’S ORIGINAL
            COMPLAINT FOR COPYRIGHT INFRINGEMENT
     AND CIRCUMVENTION OF A COPYRIGHT PROTECTION SYSTEM
      AND DEMAND FOR JURY TRIAL, DEFENDANT'S AFFIRMATIVE
       DEFENSES, AND DEFENDANT’S DEMAND FOR JURY TRIAL

          NOW COMES, Defendant, Numeric Concept & Design L.L.C., by and

through its attorney, Elizabeth V. Janovic, states as follows:

                               ANSWER TO COMPLAINT

                                             Parties1

          1.   Defendant has no personal knowledge of these facts and can neither

admit nor deny the allegations made in paragraph 1.

          2.   Defendant admits the allegations in paragraph 2.



1
 The headings of the Amended Complaint are used in this Answer solely for the convenience of the
Court. Defendant does not admit any of Plaintiff's allegations by such use.
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                                  Jurisdiction and Venue

      3.     Defendant denies that Plaintiff has any cause(s) of action against

Defendant under 17 U.S.C. § 1201, 17 U.S.C. § 1203(a), or any other legislation or

at common law.

      4.     Defendant denies that Plaintiff has any cause of action against it;

however, he admits that this court has subject matter jurisdiction over matters

involving federal questions and copyrights.

      5.     Defendant denies that Plaintiff has any cause of action against it;

however, Defendant admits that venue and personal jurisdiction in this court are

proper.

                                  First Cause of Action
                 (Alleged: Infringement of Copyrights Against Numeric)

      6.     Defendant's denials and statements in response to paragraphs 1-5 are

hereby incorporated as though fully set forth herein.

      7.     Defendant neither admits nor denies the allegations made in this

paragraph because Defendant does not have sufficient knowledge or information to

form a belief about the truth of the allegation.

      8.     Defendant neither admits nor denies the allegations made in this

paragraph because Defendant does not have sufficient knowledge or information to

form a belief about the truth of the allegation.
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      9.     Defendant neither admits nor denies the allegations made in this

paragraph because Defendant does not have sufficient knowledge or information to

form a belief about the truth of the allegation.

      10.    Defendant neither admits nor denies the allegations made in this

paragraph because Defendant does not have sufficient knowledge or information to

form a belief about the truth of the allegation.

      11.    Defendant neither admits nor denies the allegations made in this

paragraph because Defendant does not have sufficient knowledge or information to

form a belief about the truth of the allegation.

      12.    Defendant neither admits nor denies the allegations made in this

paragraph because Defendant does not have sufficient knowledge or information to

form a belief about the truth of the allegation.

      13.    Defendant neither admits nor denies the allegations made in this

paragraph because Defendant does not have sufficient knowledge or information to

form a belief about the truth of the allegation.

      14.    Defendant neither admits nor denies the allegations made in this

paragraph because Defendant does not have sufficient knowledge or information to

form a belief about the truth of the allegation.
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      15.    Defendant neither admits nor denies the allegations made in this

paragraph because Defendant does not have sufficient knowledge or information to

form a belief about the truth of the allegation.

      16.    Defendant neither admits nor denies the allegations made in this

paragraph because Defendant does not have sufficient knowledge or information to

form a belief about the truth of the allegation.

      17.    Denied in its entirety.

      18.    Denied in its entirety.

      19.    Denied in its entirety.

      20.    Denied in its entirety.

      21.    Denied in its entirety.

      22.    Denied in its entirety.

      23.    Denied in its entirety.

      24.    Denied in its entirety.

      25.    Denied in its entirety.

      26.    Denied in its entirety.

      27.    Denied in its entirety.

      28.    Denied in its entirety.
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                         Second Cause of Action
 (Alleged: Circumvention of Copyright Protection System Against Numeric)

      29.    Defendant's denials and statements in response to paragraphs 6-28 are

             hereby incorporated as though fully set forth herein.

      30.    Denied in its entirety.

      31.    Defendant neither admits nor denies the allegations made in this

paragraph because Defendant does not have sufficient knowledge or information to

form a belief about the truth of the allegation.

      32.    Defendant neither admits nor denies the allegations made in this

paragraph because Defendant does not have sufficient knowledge or information to

form a belief about the truth of the allegation.

      33.    Defendant neither admits nor denies the allegations made in this

paragraph because Defendant does not have sufficient knowledge or information to

form a belief about the truth of the allegation.

      34.    Defendant neither admits nor denies the allegations made in this

paragraph because Defendant does not have sufficient knowledge or information to

form a belief about the truth of the allegation.

      35.    Denied in its entirety.

      36.    Denied in its entirety.

      37.    Denied in its entirety.

      38.    Denied in its entirety.
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                 DEFENDANT’S AFFIRMATIVE DEFENSES

                       FIRST AFFIRMATIVE DEFENSE
                        Failure to State a Claim for Relief

      33.    Plaintiff has failed to state a claim upon which relief may be granted,

and therefore Defendant requests dismissal of Plaintiff’s Amended Complaint.

      34.    Plaintiff is wrongfully suing Defendant because Plaintiff is unable to

demonstrate that Defendant committed a volitional act of infringement.

                      SECOND AFFIRMATIVE DEFENSE
                           Statute of Limitations

      35.    Plaintiff's claims are or may be barred by the applicable statute of

limitations, because Plaintiff failed to file a timely claim against Defendant.

                       THIRD AFFIRMATIVE DEFENSE
                                 Fair Use

      36.    Plaintiff’s claims are barred by the doctrine of fair use, because

Defendant did not use any of Plaintiff’s works for any purpose, and thereby has

made no impact upon the potential market for or value of Plaintiff’s works.

                     FOURTH AFFIRMATIVE DEFENSE
                           Equitable Estoppel

      37.    Plaintiff's claims are barred by equitable estoppel due to Plaintiff’s

inaction and because Defendant did not use any of Plaintiff’s works for any

purpose.
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                            FIFTH AFFIRMATIVE DEFENSE
                                    Unclean Hands

      38.    Plaintiff's claims are barred by the doctrine of unclean hands, because

Plaintiff is not free of unethical conduct relative to the controversy and has

improperly used the Federal Court system to file a case based on untrue statements

and with no valid claims.

                            SIXTH AFFIRMATIVE DEFENSE
                                   Non-Infringement

      39.    Plaintiff's claims are barred because no infringement by Defendant

occurred in this case.

                     FOURTEENTH AFFIRMATIVE DEFENSE
                             Misuse of Copyright

      40.    Plaintiff's claims are barred by the doctrine of misuse of copyright,

because Plaintiff continues to mislead this Court and many others across the

United States by filing mass copyright infringement cases based on inaccurate

information and with no valid claims.

                             RESERVE RIGHT TO AMEND

      41.    Pursuant to FRCP Rule 11, as amended, all possible defenses and

affirmative defenses may not have been alleged herein insofar as sufficient facts

were not available after reasonable inquiry upon the filing of Defendant's Answer,

and therefore Defendant reserves the right to amend its answer to allege additional
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affirmative defenses, if subsequent investigation reveals the possibility for

additional defenses.

                DEFENDANT’S DEMAND FOR JURY TRIAL

      Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Defendant

hereby demands a trial by jury on all issues so triable.

                                RELIEF REQUESTED

      WHEREFORE, Defendant respectfully requests that the Court:

             (A)    Find that Plaintiff's Original Complaint for Copyright

             Infringement and Circumvention of a Copyright Protection System

             and Demand for Jury Trial is entirely without merit;

             (B)    Immediately dismiss Plaintiff's Original Complaint for

             Copyright Infringement and Circumvention of a Copyright Protection

             System and Demand for Jury Trial, with prejudice;

             (C)    Award Defendant his reasonable attorneys’ fees and costs of in

             this action; and

             (D)    Grant Defendant such other and further relief as the Court may

             deem equitable and just.

August 31, 2018                         Respectfully submitted,

                                        WILSON P. TANNER III, PLC

                                 BY: /s/Elizabeth V. Janovic
                                     Elizabeth V. Janovic (P71456)
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                                        734-997-0003 (fax)
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                          CERTIFICATE OF SERVICE

      I hereby certify that on August 31, 2018, I electronically filed the foregoing

ANSWER TO PLAINTIFF’S ORIGINAL COMPLAINT FOR COPYRIGHT

INFRINGEMENT AND CIRCUMVENTION OF A COPYRIGHT

PROTECTION SYSTEM AND DEMAND FOR JURY TRIAL, DEFENDANT'S

AFFIRMATIVE DEFENSES, AND DEFENDANT’S DEMAND FOR JURY

TRIAL with the Clerk of the Court using the ECF system which will send

notification of such filing to counsel of record.


August 31, 2018                         Respectfully submitted,

                                        WILSON P. TANNER III, PLC

                                 BY: /s/Elizabeth V. Janovic
                                     Elizabeth V. Janovic (P71456)
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